Case 1:05-cr-10033-.]DT Document 20 Filed 06/07/05 Page 1 of 2 PagelD 31

|N THE UN|TED STATES D|STR|CT COURT ' §
FOR THE WESTERN D|STR|CT OF TENNESSEE Fl.,.ED BY__...._________D.C.

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uNiTEo sTATEs oF AMERicA, noiz€;:m Fi. Dl TR_OL!O
CLEFiK, U.S. DiST CT.
Plaintirr, W. D. OF TN JACKSON
v. cr. No. 05-10033-03-T
HANK sussEY,

Defendant.

 

OF\’DER ON ARRA|GNMENT

 

This cause came to be heard on June 7, 2005. The Assistant United States Attorney
appeared on behalf of the government, and the defendant appeared in person and with the
following counsel, who is retained/appointed:

NAl\/lE'. Clay Mayo
ADDRESS:

TELEPHONE:

The defendant, through counsel, waived formal arraignment and entered a plea of not
guilty.

Al| motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

The defendant, who is not in custody, may stand on his/her present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held without bond pursuant to BRA of 1984), is remanded to the custody of the

 

U.S. lVlarsha|.
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S. THOlVlAS ANDERSON
United States Magistrate Judge
Charges: conspiracy to steal and distribute materials and compounds containing controlled

substances and possession with intent to distribute controlled substances
Assistant U.S. Attorney assigned to case: Kitchen

Ruie 32 was: waived / not waived.

This document entered on the docket shea i mpliance
with Rule 55 and/or 32(b) FRch on LO 05 /S\O

 

DISTRIC COURT - WSRNETE D"'TRCT 0 TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 1:05-CR-10033 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

Clayton F. Mayo

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Jackson, TN 38302--750

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

